OPINION — AG — ** PARI MUTUEL WAGERING — GAMBLING DEVICE ** THE MAKING OF A PARI MUTUEL WAGER AT A RACE MEETING AUTHORIZED AND LICENSED UNDER THE OKLAHOMA HORSE RACING ACT DOES 'NOT' CONSTITUTE GAMBLING ON A GAME OF CHANGE OR GAMBLING DEVICE WITHIN THE MEANING OF 21 O.S. 948 [21-948] ("GAMBLING", CRIMINAL LAW) CITE: 21 O.S. 941 [21-941], 21 O.S. 942 [21-942], 21 O.S. 946 [21-946], 21 O.S. 947 [21-947], 21 O.S. 948 [21-948], 21 O.S. 951 [21-951], 21 O.S. 991 [21-991](A)(1) (JAMES B. FRANKS) ** SEE OPINION NO. 93-554 (1993)